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                        IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF PENNSYLVANIA

________________________________
                                                        :
BETSY WOLF                                              :
                                                        :        CIVIL ACTION NO. 21-866
                                                        :
                                     Plaintiff,         :
                                                        :
                  v.                                    :
                                                        :
TEMPLE UNIVERSITY                                       :
                                                        :        JURY TRIAL DEMANDED
                                                        :
                        Defendant.                      :
________________________________                        :

                       PLAINTIFF’S SURREPLY IN OPPOSITION TO
                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT1

         Plaintiff submits a Surreply in response to Defendant’s Reply Brief in Support of its

Motion for Summary Judgment to very briefly address certain arguments included in the same.

    A. Defendant Failed to Move on Plaintiff’s Claims That It Retaliated Against Her
       Based on Her Complaints About Age Discriminatory Conduct in Connection with
       its Failure to Hire Her Into Open Positions

    Defendant’s argument that it did move on Plaintiff’s retaliation claims based on her

complaints about its age discriminatory conduct fails. The basis for Defendant’s argument is that

it included a Footnote in its Motion asserting that its Motion covered all of Plaintiff’s claims in

her Complaint. In its present Motion, Defendant failed to mention, let alone move on, Plaintiff’s

claims that it retaliated against her in connection with her complaints of its age discriminatory




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  In Defendant’s Reply Brief, it engages in unnecessary attacks on Plaintiff. See, e.g., Def’s.’ Reply Br. p. 7 (“In
response to Plaintiff’s repeated badgering and misleading questions…”;Def.’s Reply Br. p. 10 (“…Plaintiff
badgered the witnesses relentlessly to try to get them to say things that they did not believe..”) Plaintiff notes only
that, notwithstanding Defendant’s current assertions (clearly made because some of the deposition testimony of its
witnesses undermines its arguments in its present Motion), it never once moved to limit or terminate these
depositions during which Plaintiff allegedly “badgered” and tried to “mislead” the witnesses.

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conduct. (Indeed, in its Reply Brief, Defendant is unable to point to any reference to its argument

on this claim in its Motion for the simple fact that it does not exist because they did not move on

it.) That footnote does not constitute a Motion. Defendant failed to mention, let alone move on,

these claims in their initial Motion (which, its Footnote 4 aside, it does not dispute). Plaintiff

will not repeat the arguments that she has already made in her Opposition Brief (see, e.g., pp. 27-

28). The bottom line is that Defendant cannot shoehorn an (belated) argument into its Reply

Brief that it failed to make in its initial Motion. Def.’s Reply Br. p. 3.

    B. The Credibility of Defendant’s Witnesses Is Squarely In Dispute And, As Such,
       Defendant’s Motion for Summary Judgment Should Be Denied

    Defendant’s assertion that Plaintiff made an “offensive and false” “slur” towards it, and its

witnesses, because she argued that its present Motion cannot be granted when the motivation and

credibility are squarely in dispute, which is the case given that its own witnesses have testified

inconsistently, is absurd. First, Defendant’s assertions are ironic given that it is making a similar

argument as to Plaintiff in its present Motion, i.e., that this Court should not credit Plaintiff’s

allegations of discrimination and retaliation and should instead accept as a matter of law

Defendant’s version of events resulting in Plaintiff’s termination and Defendant’s failure to hire

her.

        Second, as Plaintiff has already set forth in her Opposition Brief, the undisputed fact is

that Defendant’s witnesses have testified inconsistently, including regarding issues directly

related to the adverse employment actions at issue, e.g., who made the decision to terminate

Plaintiff’s employment. Indeed, Defendant admits in its Reply Brief that there are

“discrepancies” in the testimony of its witnesses; it argues that they are “minor and do not raise

any real credibility issues.” Def.’s Reply Br. p. 10. Defendant cannot with any legitimacy ask

this Court to find as a matter of law that admitted “discrepancies” in the testimony of its own

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witnesses “do not raise any real credibility issues.” As the Third Circuit concluded, “[A[ finding

of discrimination is at bottom a determination of intent. In making that determination, the jury

must perform its traditional function of assessing the…credibility of the witnesses through

observation of both direct testimony and cross-examination at trial…This is uniquely the role of

the factfinder, not the court.” Sheridan v. E.I. Dupont de Nemours & Co., 100 F.3d 1061, 1071-

1072 (3d Cir. 1996).

           While Defendant is apparently very concerned about defending its witnesses (describing

them as “dedicated professionals and public servants who have worked at”2 Defendant each for

several years), it completely discounts Plaintiff, an undisputedly excellent, dedicated employee

who was terminated at age sixty seven (67) after thirteen (13) years of employment, after which

time Defendant admittedly made no effort whatsoever to find another position for her within the

organization. She deserves to have her day in Court.



                                                      Respectfully submitted,


                                               CONSOLE MATTIACCI LAW, LLC

Dated: January 12, 2022                        BY:    /s/ Caren N. Gurmankin
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                                                      Attorney for Plaintiff,
                                                      Betsy Wolf




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    Def.’s Reply Br. p. 10.

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